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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

GLENN MATLOCK,                                          )
                                                        )
                 Plaintiff,                             )
                                                        )
       vs.                                              )       No. 1:16-cv-7361
                                                        )
SOHAIB-ASBAH KAMIL SHAMMO,                              )       Hon. Gary Feinerman
SPEEDY TRANSPORTATION, INC.,                            )
AND AL DIKHOW, individually and                         )
as President of SPEEDY                                  )
TRANSPORTATION, INC.,                                   )
                                                        )
                 Defendants.                            )

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. Rule of Civ. Proc. 41(a)(1)(A)(ii), the parties herby stipulate to dismissal

of this matter, with prejudice, of all causes of action arising out of the facts alleged in the

Complaint with prejudice and without costs or attorneys’ fees to either party.

       WHEREFORE, the Parties respectfully request that this Court dismiss the instant matter,

in its entirety, with prejudice and without costs or attorneys’ fees to any party, pursuant to

settlement.

Stipulated by:

/s/ Robert Fink__________________
Robert Fink
Collison & O’Connor, Ltd.
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/s/ Robert H. Fredian
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